Case 4:21-cv-11439-FKB-DRG ECF No. 18-6, PageID.274 Filed 04/13/23 Page 1 of 2




                       EXHIBIT E
    Case 4:21-cv-11439-FKB-DRG ECF No. 18-6, PageID.275 Filed 04/13/23 Page 2 of 2
Standards and Regulations                                                5.6.9
Subjects, E-G                                                        15 Sep 19

Coffee Makers/Water Boiler

 Remember the following about coffee makers/water boilers:
 • Raise the brew handle and remove the brew cup. Verify that the brew
   cup is clean and free of coffee grounds. Place a pillow pack, seam
   down, on top of the screen in the brew cup. Do not fold corners of
   pack. Press the Brew button. Brewing will occur only when the water
   is within the set maximum nominal operating range of approximately
   188° F to 196° F (86° C to 91° C).
   NOTE: When coffee pack is placed too tightly in brewing pan or
   coffee maker malfunctions, it may cause water to overflow due to
   pressure build-up of air and water.
 • If pressure build-up occurs and water overflows, do not lift handle or
   pull out brewing pan. Immediately turn off coffee maker and wait 3-4
   minutes before pulling out brewing pan. Notify other FAs and
   document in EFM.

         If handle is lifted before pressure is released, hot coffee grounds
         may spew out and cause injury.

 • Endura coffee makers use a plastic optical sensor to detect liquid
   level in pot. Ensure the pot is centered on hot plate before closing
   handle. If handle is forced down with pot not centered, the metal pot
   can crack optical sensor and damage it.
 • Water Boiler: Press the POWER button to start the preheat cycle to
   heat water in the tank. When the water temperature is in the 180 °F to
   196 °F (82 °C to 91 °C) range, the READY light on the front panel
   illuminates. Water is dispensed from the faucet through the aerator.
   Water flow is initiated by pulling the faucet handle. Use caution when
   pulling on the faucet handle.

Disposable Service Items (FAR 121.577)
REDACTED




                                                    DELTA000111
                                                          On-Board Manual
                                                       CONFIDENTIAL
